Docusign Envelope ID: 704ACBDA-6BC6-4356-871C-5C83A08151AF
       Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 1 of 59




                                            DECLARATION OF CHRIS TORTO

                     I, Chris Torto, hereby declare as follows, pursuant to 28 U.S.C. § 1746:

                     1.      I am the President of the Palm, Hibiscus, and Star Islands Association (the

            “Neighborhood Association”). I have served in that position since May 1, 2024. I am also the Head

            of the Neighborhood Association’s Security Committee, a position I have held since February 3,

            2022.

                     2.      The statements contained in this declaration are based upon my personal

            knowledge, my review and consideration of documents and information available to me in my

            official capacity with the Neighborhood Association, and information obtained from other officials

            with the Neighborhood Association.

                     3.      The Neighborhood Association represents the interests of all homeowners on Palm,

            Hibiscus, and Star Islands (“PHS Islands”). The PHS Islands are small, private communities that

            are typically secure and tranquil.

                     4.      Art Week, and especially its signature Art Basel Miami Beach component, is one

            of the busiest times for the PHS Islands.

                     5.      I am aware that the City Commission passed Resolution No. 2024-33407 (the “Art

            Week PHS House Party Resolution” or “Resolution”) in efforts to mitigate disruptions on the PHS

            Islands caused by raucous house parties during Art Week 2024.

                     6.      I am also aware that Plaintiffs Leonard Hochstein (resident of 42 Star Island Drive

            on Star Island), Daniel Vincent Liburdi (resident of 101 N. Hibiscus Drive on Hibiscus Island),

            and Sinan Tuna (resident of 165 N. Hibiscus Drive on Hibiscus Island) have filed the above-

            captioned lawsuit, seeking to enjoin the Resolution.

                     7.      Each of these Plaintiffs has a history of holding disruptive parties or other
Docusign Envelope ID: 704ACBDA-6BC6-4356-871C-5C83A08151AF
       Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 2 of 59




            unauthorized special events in single-family homes on the PHS Islands, which have prompted

            complaints to the Neighborhood Association.

                     8.      Leonard Hochstein: The Neighborhood Association has received complaints from

            residents about several parties thrown, or permitted to be thrown, by Mr. Hochstein. For example,

            Art Basel-related parties in 2022 and 2023 turned out to be rowdy and taxing on PHS Islands’

            infrastructure. For example, the Art Basel event in 2022 at 42 Star Island Drive resulted in a

            massive influx of vehicular traffic. Vehicles have only one roadway for ingress/egress to the

            MacArthur Causeway (Bridge Road), and the flood of cars clogged the sole roadway on the other

            side of the guardhouse (Star Island Drive), which is a single-lane loop around the island.

            Additionally, the Art Basel event in 2023 at 42 Star Island Drive similarly gridlocked the island’s

            guardhouse and roadway. Neighbors were disrupted by the unruly conduct of both party invitees

            and crashers, some of whom attempted to jump over a fence and/or swim through Biscayne Bay

            in efforts to gain access to the estate. All of this has resulted in a great deal of concern expressed

            by PHS Islands residents to the Neighborhood Association in anticipation of Art Week 2024.

                     9.      Daniel Vincent Liburdi: Mr. Liburdi previously resided at 269 N. Hibiscus Drive,

            also on Hibiscus Island. Since approximately August 2024, Mr. Liburdi now resides at 101 N.

            Hibiscus Drive. The Neighborhood Association has received resident complaints about Mr.

            Liburdi based on parties thrown at both Hibiscus Island addresses. For example, the Neighborhood

            Association received several complaints regarding excessively loud music and the revving of car

            engines in Mr. Liburdi’s driveway at 269 N. Hibiscus Drive, persisting from 3 am until after 6 am

            on Thursday, April 4, 2024, and ultimately requiring police intervention. These complaints

            prompted the Neighborhood Association’s Security Committee to send a letter that same day,

            attached hereto as Exhibit A. Despite this letter, Mr. Liburdi has continued to throw large,



                                                              2
Docusign Envelope ID: 704ACBDA-6BC6-4356-871C-5C83A08151AF
       Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 3 of 59




            commercial-grade parties that disrupt the quality of life of PHS Islands residents. The

            Neighborhood Association is aware of such parties taking place on September 25-26, 2024;

            October 17-18, 2024; October 26, 2024; and October 31-November 1, 2024. Mr. Liburdi’s antics

            have gotten so bad that his neighbors, the Ferrers, have sent the Neighborhood Association the

            attached Summary Report (Exhibit B) and have filed a nuisance lawsuit against Mr. Liburdi

            (verified complaint at Exhibit C and emergency motion for temporary injunction at Exhibit D).

            All of this has resulted in a great deal of concern expressed by PHS Islands residents to the

            Neighborhood Association in anticipation of Art Week 2024.

                     10.     Sinan Tuna: During Art Week last year, Mr. Tuna threw a party on December 7,

            2023, that prompted several PHS Islands residents to complain to the Neighborhood Association.

            The complainants reported firework debris falling on people’s lawn, young children being woken

            up and terrified by the explosive noise, and elderly residents shaking in their beds and unable to

            sleep. In the words of one Hibiscus Island resident of nearly 40 years, it was the worst noise level

            they had ever experienced. Another complainant had difficulty accessing their own home due to

            the traffic caused by the party. These complaints prompted the Neighborhood Association’s

            Security Committee to send a letter on December 18, 2023, attached hereto as Exhibit E. Despite

            the letter, Mr. Tuna is planning another party during Art Week 2024, which has resulted in a great

            deal of concern expressed by PHS Islands residents to the Neighborhood Association.

                     I declare under penalty of perjury that the foregoing is true and correct.

                     Dated: November 30, 2024.



                                                               CHRIS TORTO, President
                                                               Palm, Hibiscus, and Star Islands Association




                                                               3
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 4 of 59




   April 4, 2024

   Mr. Daniel Liburdi
   269 N Hibiscus Drive
   Miami Beach, FL 33139




   Dear Mr. Liburdi,

   It has come to our attention that there were several complaints from residents of
   Hibiscus Island regarding excessively loud music and the revving of car engines in your
   driveway, persisting from 3 am until after 6 am on Thursday, April 4th, prompting the
   intervention of the Miami Beach Police Department (MBPD).

   We ultimately want to work with our residents to enjoy their property in a safe and
   peaceful manner and request your cooperation in adhering to the city’s noise regulations
   in the future. Also, a permit from the City of Miami Beach is required for filming on
   private residential properties, or for any special event. Should you have any questions or
   concerns, please do not hesitate to reach out to us.

   Sincerely,



   Allison Feldman & Chris Torto
   Board and Security Committee Members
   PHS Islands Association
   152 Palm Avenue
   Miami Beach, FL 33139




                            152 Palm Avenue Miami Beach, FL 33139
                                                                                             Ex. A
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 5 of 59
                    Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                      Branded by the Owner on Social Media:          Hibiscus House
   To Whom it May Concern,

   My Family and I have lived on the Islands for the past 5 years. We have never had any issues with the
   community, the neighbors, nor the police.

   Once the new neighbor moved in next door, to 101 N. Hibiscus Drive (September 2024), we are
   constantly being disturbed by his parties, loud music, herds of cars and people, fireworks, and blatant
   negligence to safety within our community.

   We have contacted the HOA Team to report all these issues (which they have been amazing, and are
   truly trying to assist), we have spoken with almost every police officer at the entrance of Palm/Hibiscus
   Guard House, and we have had a Zoom Call with a variety of Miami Beach Officials (including police
   officers, Captain of the Miami-Dade police department, code enforcement, and our attorney).

   Below is a Timeline of Our Miserable Encounters with the Neighbor/His Events:

       •   September 25th /26th 2024: My husband and I returned from Work Travel at around Midnight. The nanny
           called me while I was uber’ing from the Airport and advised me the music was very loud. As we arrived to
           our community – we advised the police officer on duty to please send someone to 101 N. Hibiscus to have
           them turn down the music. We then called the guardhouse again at 1:29 AM because the party was still
           going on and the outside music was extremely loud.
       •   October 17th 2024: Another party occurred and we called the guardhouse at 1:58 AM and again at 2:37
           AM to report loud noise/music outside.
       •   October 26th 2024: Another party occurred and we called the guardhouse at 10:56 PM to report loud
           noise/music outside.
       •   October 31st 2024: A massive Halloween Party that started at 11:00 PM and Ended at 6:00 AM. We called
           at 1:01 AM, 1:28 AM, 1:43 AM, and 4:11 AM. This party, no matter how many times we called the police –
           it never ended! Over 400 CARS came into our community that evening. Code Enforcement NEVER made it
           to this event to help.
       •   Next Week – ART BASEL (He already applied for permits).
       •   Random Christmas Party – Possibly.




                                                                                                       1|Page


                                                                                                                      Ex. B
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 6 of 59
              Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                Branded by the Owner on Social Media:   Hibiscus House




                                                                                       2|Page
    Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 7 of 59
                       Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                         Branded by the Owner on Social Media:   Hibiscus House
         Halloween Party: 101 N Hibiscus Drive (10/31/2024)




       Private
Shuttle Busses




                                                                                                3|Page
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 8 of 59
              Summary
              Summary of
                      of the
                         the Ferrer’s
                             Ferrer's and
                                      and 101
                                          101 North
                                              North Hibiscus
                                                    Hibiscus Drive
                                                             Drive (Recent
                                                                   (Recent Neighbor)
                                                                           Neighbor)

                                                          Hibiscus House
                Branded by the Owner on Social Media: Hibiscus House




                                                     -1




                            4a                 MP*




                                                                         If




                                                                                       4 | P a gg ee
      Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 9 of 59
                               Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                                 Branded by the Owner on Social Media:             Hibiscus House

Our neighbor from across the street to the West had their new landscaping destroyed by the constant UBER driver staging and waiting for calls, grid
                             lock traffic causing drivers to actually drive over the private grass areas of other homes.




Same UBER Driver still picking up party goers on 11/01/2024 at 7AM. When we left our home for work and to drop off our
   kids at school. Notice the private bouncer still working the door as party goers were still inside playing loud music.




                                                                                                                             5|Page
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 10 of 59
                 Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                   Branded by the Owner on Social Media:   Hibiscus House
   10/31/2024 – 101 N. Hibiscus Drive; Social Media




                                                                                          6|Page
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 11 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




             12:44                                                     .all 5G



        *      danielvincent © 18h

                      thebrianserrano




                                                                            1 rFT*1

                                                                            KM
                // * I                                                        ”   -I




                                                                                  t
                            &




            Send message...                                                             7|Page
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 12 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




              12:44



               danielvincent o             18h
                >i<   The Weeknd, JENNIE, Lily Rose Dep...                    >




                       paulantonovna

                                                                      r




            Send message
                                                                                        8|Page
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 13 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer’s and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




                                                                    .ll 5G 1            D-



           danielvincent o             18h




               305. or ®




       KILLED IT ©DANIELVINCENT




                                                                                             9 | P a g ee
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 14 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




           12:43 -r                                                   .ii    5G          )•



     *      daniel vincent ®                18h




                  christinaashley4




                                                                        •g




                                                                               i




                           *



                                                     IT

                                            M' L
                                        f



                                   <'




         Send message...

                                                                                        10 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 15 of 59
                Summary
                Summary of
                        of the
                           the Ferrer’s
                               Ferrer's and
                                        and 101
                                            101 North
                                                North Hibiscus
                                                      Hibiscus Drive
                                                               Drive (Recent
                                                                     (Recent Neighbor)
                                                                             Neighbor)

                                                           Hibiscus House
                  Branded by the Owner on Social Media: Hibiscus House



           12:43 -T



            danielvincent ©           18h
            <Z> ^ter parkerlipman




                                       @DANIELVTNCENT




                                              *    i



    il BI         lj s
      I   I O USE
             >U S E




                                              w                   V
                                               -       A




          Send message...


                                                                                         11 | PPage
                                                                                                age
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 16 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




           12:43 -T                                                   .I 5G 1



            danielvincent O               18h



                 hawkwade




                                                                                1




                (8>calussaofc •
                           '          *        •


         Send message...
                                                                                        12 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 17 of 59
                     Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                        Branded by the Owner on Social Media:         Hibiscus House

  Party Goers blowing a Viking air horn all night, this was done repeatedly outside in the back yard during the event.




                                                                                                           13 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 18 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




            12:43                                                       .Il    5G




              danielvincent o              18h




                        textlee




                                             HIBISCUS




                 I                                 t


                                                                            -dlL



                                                               (af<lnr»i«tlvir»<z«»r»t
                                                               (af io»«phporte»
                                                                       BA




           Send message...
                                                                                         14 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 19 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




          12:44                                                     .III   5G           >




           danielvincent o             18h



                    reese_global




         ©danielvincent
         ©josephportes
         ©thebrianserrano
         ©samosox

         ©itsmylesk
         ©darwinhinestroza




        Send message...
                                                                                        15 | P a g ee
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 20 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer's and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                        Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House




           12:43                                                    .I 5G CM'



     * B    danielvincent o               18h


                 josephportes




                                  I
                                  I
                                                                                   I
                   I
                                      /




         Send message...
                                                                                        16 | P a g ee
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 21 of 59
                  Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                     Branded by the Owner on Social Media:   Hibiscus House
   10/17/2024 – 101 N. Hibiscus Drive; Social Media

                                                Random Party, Palm Island Police Gatehouse advised 93
                                                      cars showed up at the gate within 2 hrs.




     Same Private Shuttle that was used on 10/31/2024 that constantly picks up and drops off party goers.



                         UBER blocking our driveways and cars parked on our lawns.




                                                                                              17 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 22 of 59
               Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                 Branded by the Owner on Social Media:   Hibiscus House




                     UBER blocking our driveways and cars parked on our lawns.



                                                                                        18 | P a g e
  Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 23 of 59
                       Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                         Branded by the Owner on Social Media:   Hibiscus House

Party Boat showed up at 1 AM on 10/17/2024 and started to play loud music with a DJ speaking and hosting the event.




                                                                                                 19 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 24 of 59
                     Summary of the Ferrer’s and 101 North Hibiscus Drive (Recent Neighbor)
                       Branded by the Owner on Social Media:    Hibiscus House

Same Private Shuttle that was used on 10/17/2024 that constantly picks up and drops off party goers. Hired private
                                 company directing traffic throughout the night.




                                           Random Cars in our Driveway.




                                                                                                 20 | P a g e
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 25 of 59
               Summary
               Summary of
                       of the
                          the Ferrer’s
                              Ferrer’s and
                                       and 101
                                           101 North
                                               North Hibiscus
                                                     Hibiscus Drive
                                                              Drive (Recent
                                                                    (Recent Neighbor)
                                                                            Neighbor)

                                                           Hibiscus House
                 Branded by the Owner on Social Media: Hibiscus House


                                                                                     *




                                                                                               v
                                                                                               \li



                         u
                                                1
                                                                                                               [4


                                                                           jk   j
                                                                                         di




                                                                                                i


                             i




  hl
              11                 r>:
                                                                     la


                                                                                              9^3


                                                           . ?        .




                                                                          '"I
                                                                     ZEA el         ’-A

                                                    I.',         J




                                       1 ..ss




                                                                                                     21
                                                                                                     21 || P age
                                                                                                           Page
FilingCase 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 26 of 59
       # 211575279  E-Filed 11/22/2024 02:54:23 PM


                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        JOSE FERRER and                                             Case No.:
        JACQUELINE FERRER,

               Plaintiffs,

        v.

        DANIEL LIBURDI a/k/a DANIEL
        VINCENT and 101 N. HIBISCUS LLC,

              Defendants.
        ________________________________/

                                           VERIFIED COMPLAINT

               Plaintiffs, Jose Ferrer and Jacqueline Ferrer (collectively “Plaintiffs”), by and through

        undersigned counsel, hereby file this Verified Complaint against defendants, Daniel Liburdi a/k/a

        Daniel Vincent (“Liburdi”) and 101 N. Hibiscus LLC (“101 Hibiscus LLC”) (Liburdi and 101

        Hibiscus LLC are collectively hereinafter the “Defendants”).

                               THE PARTIES, JURISDICTION AND VENUE

               1.      This is an action to enjoin and abate a private nuisance located at 101 North

        Hibiscus Drive, Miami Beach, Florida 33139 (“101 Hibiscus”).

               2.      Plaintiffs are husband and wife and the record title owners of (and reside at) 91

        North Hibiscus Drive, Miami Beach, Florida 33139, which is located directly adjacent or next door

        to 101 Hibiscus.

               3.      Liburdi is an individual and resides at 101 Hibiscus.

               4.      101 Hibiscus LLC is a foreign limited liability company organized in the State of

        Wyoming and record title holder of 101 Hibiscus which upon information and belief is managed

        and operated by Liburdi or an entity within his control.



                                                         1
                                                                                                            Ex. C
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 27 of 59




          5.      This Court has jurisdiction pursuant to Fla. Stat. § 26.012.

          6.      Venue lies in this Court pursuant to Fla. Stat. § 47.011 in that Defendants and 101

    Hibiscus are located in and the causes of action accrued in Miami-Dade County, Florida.

          7.      All conditions precedent to the maintenance of this action have been satisfied,

    occurred, or been waived.

                                     FACTUAL ALLEGATIONS

                  A.     Plaintiffs and Their Family

          8.      This case arises out of Defendants’ utter disregard for the rule of law as set forth in

   the Code for the City of Miami Beach and for the quality of life of Plaintiffs in a single-family

   residential neighborhood.

          9.      On June 29, 2023, Plaintiffs purchased the real property located at 91 North

   Hibiscus Drive, Miami Beach, Florida 33139 (“91 Hibiscus”).

          10.     Plaintiffs reside at 91 Hibiscus as their primary residence and have claimed such

   property as their homestead for property tax purposes.

          11.     Plaintiffs own a business together in the aviation industry and work six days per

   week, Monday through Saturday, at such business during customary working hours of 8 a.m. to 6

   p.m.

          12.     Moreover, Plaintiffs care for and raise two minor children, both under the age of

   ten, which includes, but not limited to, taking them to and from school each week day, assisting

   with homework after school, attending extracurricular activities, playing with their children on

   their property and overall, ensuring their children have a safe environment in the community.

          13.     Since the purchase of 101 Hibiscus and taking of possession of such property by

   Defendants, Plaintiffs have experienced consistent interference with and loss of enjoyment of their



                                                    2
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 28 of 59




   property at 91 Hibiscus due to Defendants utilizing 101 Hibiscus to carry out and maintain

   continuous large-scale, organized events and/or house parties with commercial grade sound

   systems, lighting, service staff, private security, firework displays, traffic congestion, and event

   promotion by third parties.

          14.     Both 91 Hibiscus and 101 Hibiscus are located in a residential zoned area of Miami

   Beach, Florida with the city code placing specific restrictions on use in such areas to preserve and

   protect the residential nature of the zoned area, including any attempts to use such areas for

   commercial purposes.

          15.     Defendants’ egregious house parties, events and conduct are keeping Plaintiffs’

   family up at all hours of the night and significantly affect the family’s day-to-day lives as follows:

   (i) Plaintiffs and their children are fatigued the following day which directly affects their overall

   health and performance at work and school; (ii) event or party attendees frequently park on public

   streets blocking Plaintiffs’ driveway and the majority of Hibiscus Island’s streets that creates an

   unreasonable risk of death or serious injury in the event an emergency vehicle is called for

   assistance and is unable to enter and exit; (iii) event or party attendees with no relation to

   Defendants are invited to consume alcohol which has resulted in party goers later wondering or

   flowing onto Plaintiffs’ property uninvited while intoxicated which creates a risk to Plaintiffs and

   their children; and (iv) ruined the family’s enjoyment of their property as they now are unable to

   sleep a certain number of nights each week and spend their nights calling law enforcement seeking

   relief from excessive noise and other nuisances to the community.

          16.     As the ongoing pattern of unlawful conduct persists, Defendants and 101 Hibiscus

   have become an immediate and continued annoyance to Plaintiffs and the community and present

   a real and continued threat of injury to the health of Plaintiffs and the community.



                                                     3
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 29 of 59




                   B.     City of Miami Beach Code

          17.      Pursuant to Section 825.05(1)(a) and (d), Fla. Stat., a “nuisance” includes a

   “building…that tends to annoy the community or injure the health of the community” and “a place

   where any law of the state is violated.”

          18.      Under the Code for the City of Miam Beach, unreasonably loud, excessive,

   unnecessary, and/or unusual noises are expressly prohibited, including but not limited to, loud

   music, revving of motor vehicle engines, fireworks, airhorns, and raucous shouting that disturbs

   the peace of neighboring residential inhabitants. City of Miami Beach Ord. No. 46-152(a)-(b), (e),

   (l).

          19.      In addition, the Code for the City of Miami Beach also expressly prohibits the

   commercial use of any residential property. City of Miami Beach Ord. No. 142-109.

                   C.     Defendants and their Unlawful Activities on Hibiscus Island

          20.      On August 28, 2024, 101 N. Hibiscus LLC purchased the real property located at

   101 Hibiscus.

          21.      Liburdi is a single male that resides at 101 Hibiscus on a full-time basis as a tenant,

   owner (via 101 Hibiscus LLC), and/or authorized agent or caretaker of the property (on behalf of

   101 Hibiscus LLC)

          22.      Prior to acquiring 101 Hibiscus, Liburdi resided approximately thirteen houses

   down on the same exact street at real property located at 269 North Hibiscus Drive, Miami Beach,

   Florida 33139 (“269 Hibiscus”).

          23.      On September 29, 2023, 269 N. Hibiscus LLC (“269 Hibiscus LLC”) purchased

   the real property located at 269 Hibiscus. Likewise, Liburdi resided at 269 Hibiscus on a full-time




                                                     4
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 30 of 59




   basis as a tenant, owner (via 269 Hibiscus LLC), and/or authorized agent or caretaker of the

   property (on behalf of 269 Hibiscus LLC).

          24.     At the time of residing at 269 Hibiscus, Liburdi offered and carried out continuous

   organized events and/or house parties with commercial grade sound systems, traffic congestion,

   and event promotion in violation of City of Miami Beach ordinances and local codes. In addition,

   such events and/or house parties resulted in raucous shouting outdoors from party attendees,

   unnecessary engine revving in the driveway of 269 Hibiscus, blockage of roadways and congestion

   for nearby residents, and filming of commercial grade music videos by performance artists on the

   residential property.

          25.     Specifically, Liburdi carried out such events and/or parties on April 4 and 5, 2024.

          26.     Due to the unlawful conduct, Miami Beach Police Department (“MBPD”) was

   contacted by local residents on such dates for excessive and unnecessary noise which resulted in

   official code violation citations being issued by MBPD in assigned cases CC2024-17953 and

   CC2024-17954.

          27.     The residential homes, including 91 Hibiscus, 101 Hibiscus and 269 Hibiscus, are

   located on a man-made island known as Hibiscus Island. Hibiscus Island, Palm Island, and Star

   Island are governed by an association called the PHS Islands Association (“Association”) which

   is voluntary for property owners on such islands.

          28.     Following the unlawful noise and filming activity on April 4, 2024, the Association

   served correspondence on Liburdi at 269 Hibiscus regarding the complaints and requested

   cooperation in adhering to the City of Miami Beach’s code; unfortunately, the request and code

   were ignored by Liburdi.




                                                   5
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 31 of 59




          29.     269 Hibiscus is a six-bedroom, seven-bathroom residential home with

   approximately 9,000 square feet.

          30.     In contrast, 101 Hibiscus is a six-bedroom, seven-bathroom residential home with

   approximately 16,000 square feet.

          31.     Upon information and belief, Liburdi, through entities within his control,

   purchased 101 Hibiscus to not only evade complaints and a past citation record at 269 Hibiscus,

   but to take advantage of a newer and larger residential home to host events and/or parties on a

   larger, commercial grade scale to further his aspirations of becoming a social media influencer

   and/or receive payment or greater financial gain from commercial entities and/or individuals that

   organize and/or host events and house parties at his properties.

          32.     On October 17, 2024, Defendants hosted a large-scale, organized event and/or party

   at 101 Hibiscus with commercial grade sound systems, lighting, service staff, private security,

   firework displays, traffic congestion, and event promotion in violation of City of Miami Beach

   ordinances and local codes. In addition, such events and/or parties resulted in raucous shouting

   and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs contacted the

   MBPD and placed excessive noise complaints at 1:52 a.m. and 2:37 a.m. that evening and early

   morning.

          33.     On October 26, 2024, Defendants hosted another large-scale, organized event

   and/or party at 101 Hibiscus with commercial grade sound systems, lighting, service staff, private

   security, firework displays, traffic congestion, and event promotion in violation of City of Miami

   Beach ordinances and local codes. In addition, such events and/or parties resulted in raucous

   shouting and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs




                                                    6
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 32 of 59




   contacted the MBPD and placed excessive noise complaints at 11:00 p.m., 1:01 a.m., 1:28 a.m.,

   1:43 a.m., 1:47 a.m., 3:18 a.m., and 4:11 a.m. that evening and early morning.

          34.     During the October 26, 2024, event and/or house party, Defendants fully

   commercialized the property at 101 Hibiscus to give it a night club like atmosphere and

   environment, including but not limited to, giving it an official venue name – i.e., the “Hibiscus

   House” – and instituting an official “lost and found” (indicating Defendants had no prior

   relationship with the attendees). Each foregoing commercialized aspect is reflected in the

   following social media posts created and published by Liburdi and his affiliates:




                                                   7
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 33 of 59




                          -   \
                          -




                                                      o




                                         ©




                                     ,            4




                              Official lost and found




                         Send message...




                                             88
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 34 of 59




          35.    Moreover, Defendants permitted third parties to advertise their services and/or

   brands at such event and/or party – i.e., “Myles Kronmen” (social influencer with commercial

   brands), “a Portes Serrano Project” (professional party planner), and Reese Global (social




                                                9
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 35 of 59




   influencer with commercial brands). Such brands, sponsors, and/or organizers are reflected in the

   following social media post created and published by Liburdi:




          36.      The foregoing social media post also thanked the general public for the “feedback”

   and claimed that more events and/or parties will be held in the future – e.g., Art Basel – and to

   “stay tuned.”


                                                   10
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 36 of 59




          37.     As a result of such event and house party, the MBPD issued additional official code

   violations in assigned cases NC2024-28938 and NC2024-28950 to Defendants.

          38.     On November 10, 2024, Liburdi again hosted a large-scale, organized event and/or

   house party at 101 Hibiscus with commercial grade sound systems, lighting, service staff, private

   security, firework displays, traffic congestion, and event promotion in violation of City of Miami

   Beach ordinances and local codes. In addition, such events and/or parties resulted in raucous

   shouting and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs

   contacted the MBPD and placed an excessive noise complaint at 4:06 a.m.

          39.     On November 12, 2024, legal counsel for Plaintiffs’ served Defendants with a

   Statutory Notice to Abate pursuant to Section 60.05, Fla. Stat., demanding the immediate

   abatement of the commercialized events and adherence to the Code of the City of Miami.

          40.     In direct rejection of such demand, on November 16, 2024, Defendants hosted a

   large-scale, organized event and/or party at 101 Hibiscus with commercial grade sound systems,

   lighting, service staff, private security, firework displays, traffic congestion, and event promotion

   in violation of City of Miami Beach ordinances and local codes. In addition, such events and/or

   parties resulted in raucous shouting and the sounding of air horns outdoors from party attendees.

   As a result, Plaintiffs contacted the MBPD and placed an excessive noise complaint at 2:42 a.m.

   At the time of speak with an officer, the officer informed Plaintiffs that approximately 87 motor

   vehicles had entered the island for such party.

          41.     Due to the limited amount of parking, persons attending the event parked illegally

   on adjoining public streets and neighboring private properties, including Plaintiffs’ blocking their

   right of way. Separate from the excessive noise, the inadequate parking situation caused additional

   disturbances in the neighborhood and creates an unreasonable risk of death or serious injury in the



                                                     11
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 37 of 59




   event an emergency vehicle is called for assistance and is unable to enter and exit. Such parking

   threat has occurred on other event dates as well.

          42.     On October 26 and November 16, 2024, Plaintiffs captured the following pictures

   reflecting the congestion and blockage of the only streets on the island:




          43.     For each event and/or party set forth above, Defendants hire off duty law

   enforcement officers to superficially act as security but in reality, upon information and belief,

   such individuals are instructed to deter on duty law enforcement officers, that respond as a result


                                                   12
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 38 of 59




   of noise complaints, from interfering or otherwise ceasing the event and house party. As a result

   of such deterrence by off duty law enforcement officers, despite Plaintiffs’ calls to law

   enforcement for help, the excessive loud music and traffic congestion continue and are maintained

   each evening until 6 a.m.

           44.    In summary, law enforcement has been contacted on thirteen separate occasions

   by Plaintiffs and others merely since April 2024 due to continuous instances of excessive loud

   noise, crowds, and blocking of public streets in violation of the city’s ordinances.

           45.    Liburdi’s properties are frequently the site of large parties and events wherein

   alcohol is consumed and noise, including but not limited to, amplified music, emanating at

   volumes that are unreasonably loud, excessive, and unnecessary including in the late-night and

   early-morning hours, disrupts the peace and quiet sought by neighboring residents, including

   Plaintiffs.

           46.    To date, there have been multiple large-scale disturbances, including several

   disturbances within the span of a single party, demonstrating that the issuance of violations by

   MBPD fail to adequately deter the bad conduct with Defendants openly planning future events

   with no intent of stopping despite threats and demands to do so.

           47.    As such, the ongoing pattern of unlawful conduct at the subject property, as well as

   the traffic, crowds, and noise at all hours of the night generated by such property, present a real

   and immediate annoyance to Plaintiffs, injuring the health of Plaintiffs, and/or violating the law,

   and constitutes a nuisance ripe for judicial intervention.




                                                    13
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 39 of 59




                                           CAUSE OF ACTION

                                    COUNT I – PRIVATE NUISANCE

                                    Against Defendants and 101 Hibiscus

           48.     Plaintiffs reallege and incorporate herein Paragraphs 1 through 47 set forth above.

           49.     Defendants carried out activities that interfered with Plaintiffs’ use and enjoyment

   of their property interests at 91 Hibiscus.

           50.     Plaintiffs own and possess 91 Hibiscus.

           51.     Defendants interfered with Plaintiffs' use and enjoyment of the real property at 91

   Hibiscus.

           52.     Defendants’ activities constitute a nuisance.

           53.     Defendants' creation and continued maintenance of such nuisance is the proximate

   cause of injury to Plaintiffs.

           54.     The nuisance has caused, and continues to pose a continued immediate threat of,

   irreparable injury to Plaintiffs and to property, and there is no adequate remedy at law.

           WHEREFORE, Plaintiffs having no adequate remedy at law, and their quality of life and

   property rights being threatened, require equitable relief and prays that this Honorable Court grant

   a temporary and permanent injunction enjoining: (i) the maintenance of the nuisance complained

   of on 101 Hibiscus; (ii) the conduct, operation or maintenance of any commercial business or

   activity on 101 Hibiscus; (iii) the use of 101 Hibiscus as an impermissible party or event house;

   and (iv) the making or maintenance of any unreasonably loud, excessive, unnecessary or unusual

   noises on 101 Hibiscus. Further, Plaintiffs request that a certified copy of said injunction be

   recorded in the public records of Miami-Dade County, which shall constitute notice to and be

   binding upon any subsequent purchasers, successors in interests, or assigns.



                                                    14
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 40 of 59



          Dated: November 22, 2024                            Respectfully Submitted,

                                                                /s/
                                                                /s/ Matthew
                                                                    Matthew M.
                                                                            M. Fischer
                                                                               Fischer

                                                              Matthew M. Fischer, Esq.
                                                              Florida Bar No. 40997
                                                              MATTHEW M. FISCHER, P.A.
                                                              HOE. Broward Blvd, Suite 1700
                                                              Fort Lauderdale, FL 33301
                                                              Tel: (954) 859.5558
                                                              Fax: (954) 859.5525
                                                              matt@fischerlawpa.com


                                                             Attorney for Plaintiffs



                                 VERIFICATION OF COMPLAINT


          We, Jose Ferrer and Jacqueline Ferrer, are over the age of eighteen (18) years old and are


   otherwise sui juris. Under penalties of perjury, we declare that we have read the foregoing Verified


   Complaint and that the facts alleged therein are true and correct to the best of our knowledge and


   belief based on personal knowledge and our review of the City of Miami Beach's public records


   concerning the matters at issue in the Verified Complaint.




                                                 J;        Ferre:



                                                                             k




                                                 Jacqueli           Ferrer




                                                      15
FilingCase 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 41 of 59
       # 211575279  E-Filed 11/22/2024 02:54:23 PM


                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        JOSE FERRER and                                                Case No.:
        JACQUELINE FERRER,

               Plaintiffs,

        v.

        DANIEL LIBURDI a/k/a DANIEL
        VINCENT and 101 N. HIBISCUS LLC,

              Defendants.
        ________________________________/

               PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY INJUNCTION

               Plaintiffs, Jose Ferrer and Jacqueline Ferrer (collectively “Plaintiffs”), by and through

        undersigned counsel, moves for the issuance of a temporary injunction against defendants Daniel

        Liburdi a/k/a Daniel Vincent (“Liburdi”) and 101 N. Hibiscus LLC (“101 Hibiscus LLC”) (Liburdi

        and 101 Hibiscus LLC are collectively hereinafter the “Defendants”), enjoining them from

        maintaining a private nuisance on the property located at 101 North Hibiscus Drive, Miami Beach,

        Florida 33139 (“101 Hibiscus”).

                                           FACTUAL BACKGROUND

               Plaintiffs have filed this action to enjoin and abate a private nuisance located at 101

        Hibiscus. 1 This case arises out of Defendants’ utter disregard for the rule of law as set forth in the

        Code for the City of Miami Beach and for the quality of life of Plaintiffs in a peaceful single-

        family residential neighborhood. No one, no matter how wealthy, is above the law. Repeated

        visits by law enforcement and the imposition of official citations by city code enforcement have




        1
         A Verified Complaint supporting all of the factual allegations herein is being filed simultaneously
        with this motion.
                                                          1

                                                                                                            Ex. D
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 42 of 59




   not sufficed to deter Defendants' unlawful conduct. Plaintiffs (and neighbors) are now fed up, and

   this nuisance is ripe for judicial intervention. Thus, injunctive relief is necessary.

          Plaintiffs are husband and wife and the record title owners of (and reside at) 91 North

   Hibiscus Drive, Miami Beach, Florida 33139, which is located directly adjacent or next door to

   101 Hibiscus. On June 29, 2023, Plaintiffs purchased the real property located at 91 North

   Hibiscus Drive, Miami Beach, Florida 33139 (“91 Hibiscus”). Plaintiffs reside at 91 Hibiscus as

   their primary residence and have claimed such property as their homestead for property tax

   purposes.

          Plaintiffs own a business together in the aviation industry and work six days per week,

   Monday through Saturday, at such business during customary working hours of 8 a.m. to 6 p.m.

   Plaintiffs care for and raise two minor children, both under the age of ten, which includes, but not

   limited to, taking them to and from school each week day, assisting with homework after school,

   attending extracurricular activities, playing with their children on their property and overall,

   ensuring their children have a safe environment in the community.

          Since the purchase of 101 Hibiscus and taking of possession of such property by

   Defendants, Plaintiffs have experienced consistent interference with and loss of enjoyment of their

   property at 91 Hibiscus due to Defendants utilizing 101 Hibiscus to carry out and maintain

   continuous large-scale, organized events and/or house parties with commercial grade sound

   systems, lighting, service staff, private security, firework displays, traffic congestion, and event

   promotion by third parties. Both 91 Hibiscus and 101 Hibiscus are located in a residential zoned

   area of Miami Beach, Florida with the city code placing specific restrictions on use in such areas

   to preserve and protect the residential nature of the zoned area, including any attempts to use such

   areas for commercial purposes.



                                                     2
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 43 of 59




          Defendants’ egregious house parties, events and conduct are keeping Plaintiffs’ family up

   at all hours of the night and significantly affect the family’s day-to-day lives as follows: (i)

   Plaintiffs and their children are fatigued the following day which directly affects their overall

   health and performance at work and school; (ii) event or party attendees frequently park on public

   streets blocking Plaintiffs’ driveway and the majority of Hibiscus Island’s streets that creates an

   unreasonable risk of death or serious injury in the event an emergency vehicle is called for

   assistance and is unable to enter and exit; (iii) event or party attendees with no relation to

   Defendants are invited to consume alcohol which has resulted in party goers later wondering or

   flowing onto Plaintiffs’ property uninvited while intoxicated which creates a risk to Plaintiffs and

   their children; and (iv) ruined the family’s enjoyment of their property as they now are unable to

   sleep a certain number of nights each week and spend their nights calling law enforcement seeking

   relief from excessive noise and other nuisances to the community.

          On August 28, 2024, 101 N. Hibiscus LLC purchased the real property located at 101

   Hibiscus. Liburdi resides at 101 Hibiscus on a full-time basis as a tenant, owner (via 101 Hibiscus

   LLC), and/or authorized agent or caretaker of the property (on behalf of 101 Hibiscus LLC). 101

   Hibiscus LLC is a foreign limited liability company organized in the State of Wyoming and record

   title holder of 101 Hibiscus which upon information and belief is managed and operated by Liburdi

   or an entity within his control.

          Prior to acquiring 101 Hibiscus, Liburdi resided approximately thirteen houses down on

   the same exact street at real property located at 269 North Hibiscus Drive, Miami Beach, Florida

   33139 (“269 Hibiscus”). On September 29, 2023, 269 N. Hibiscus LLC (“269 Hibiscus LLC”)

   purchased the real property located at 269 Hibiscus. Likewise, Liburdi resided at 269 Hibiscus on




                                                    3
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 44 of 59




   a full-time basis as a tenant, owner (via 269 Hibiscus LLC), and/or authorized agent or caretaker

   of the property (on behalf of 269 Hibiscus LLC).

          At the time of residing at 269 Hibiscus, Liburdi offered and carried out continuous

   organized events and/or house parties with commercial grade sound systems, traffic congestion,

   and event promotion in violation of City of Miami Beach ordinances and local codes. In addition,

   such events and/or house parties resulted in raucous shouting outdoors from party attendees,

   unnecessary engine revving in the driveway of 269 Hibiscus, blockage of roadways and congestion

   for nearby residents, and filming of commercial grade music videos by performance artists on the

   residential property. Specifically, Liburdi carried out such events and/or parties on April 4 and 5,

   2024. Due to the unlawful conduct, Miami Beach Police Department (“MBPD”) was contacted

   by local residents on such dates for excessive and unnecessary noise which resulted in official code

   violation citations being issued by MBPD in assigned cases CC2024-17953 and CC2024-17954.

          The residential homes, including 91 Hibiscus, 101 Hibiscus and 269 Hibiscus, are located

   on a man-made island known as Hibiscus Island. Hibiscus Island, Palm Island, and Star Island are

   governed by an association called the PHS Islands Association (“Association”) which is voluntary

   for property owners on such islands. Following the unlawful noise and filming activity on April

   4, 2024, the Association served correspondence on Liburdi at 269 Hibiscus regarding the

   complaints and requested cooperation in adhering to the City of Miami Beach’s code;

   unfortunately, the request and code were ignored by Liburdi.

          269 Hibiscus is a six-bedroom, seven-bathroom residential home with approximately 9,000

   square feet. In contrast, 101 Hibiscus is a six-bedroom, seven-bathroom residential home with

   approximately 16,000 square feet. Upon information and belief, Liburdi, through entities within

   his control, purchased 101 Hibiscus to not only evade complaints and a past citation record at 269



                                                    4
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 45 of 59




   Hibiscus, but to take advantage of a newer and larger residential home to host events and/or parties

   on a larger, commercial grade scale to further his aspirations of becoming a social media influencer

   and/or receive payment or greater financial gain from commercial entities and/or individuals that

   organize and/or host events and house parties at his properties.

          On October 17, 2024, Defendants hosted a large-scale, organized event and/or party at 101

   Hibiscus with commercial grade sound systems, lighting, service staff, private security, firework

   displays, traffic congestion, and event promotion in violation of City of Miami Beach ordinances

   and local codes. In addition, such events and/or parties resulted in raucous shouting and the

   sounding of air horns outdoors from party attendees. As a result, Plaintiffs contacted the MBPD

   and placed excessive noise complaints at 1:52 a.m. and 2:37 a.m. that evening and early morning.

          On October 26, 2024, Defendants hosted another large-scale, organized event and/or party

   at 101 Hibiscus with commercial grade sound systems, lighting, service staff, private security,

   firework displays, traffic congestion, and event promotion in violation of City of Miami Beach

   ordinances and local codes. In addition, such events and/or parties resulted in raucous shouting

   and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs contacted the

   MBPD and placed excessive noise complaints at 11:00 p.m., 1:01 a.m., 1:28 a.m., 1:43 a.m., 1:47

   a.m., 3:18 a.m., and 4:11 a.m. that evening and early morning.

          During the October 26, 2024, event and/or house party, Defendants fully commercialized

   the property at 101 Hibiscus to give it a night club like atmosphere and environment, including but

   not limited to, giving it an official venue name – i.e., the “Hibiscus House” – and instituting an

   official “lost and found” (indicating Defendants had no prior relationship with the attendees). Each

   foregoing commercialized aspect is reflected in the following social media posts created and

   published by Liburdi and his affiliates:



                                                    5
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 46 of 59




                                         6
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 47 of 59




                          -   \
                          -




                                                  o




                                      ©




                              Official lost and found




                         Send message...




                                           77
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 48 of 59




   Moreover, Defendants permitted third parties to advertise their services and/or brands at such event

   and/or party – i.e., “Myles Kronmen” (social influencer with commercial brands), “a Portes

   Serrano Project” (professional party planner), and Reese Global (social influencer with




                                                    8
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 49 of 59




   commercial brands). Such brands, sponsors, and/or organizers are reflected in the following social

   media post created and published by Liburdi:




   The foregoing social media post also thanked the general public for the “feedback” and claimed

   that more events and/or parties will be held in the future – e.g., Art Basel – and to “stay tuned.”




                                                   9
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 50 of 59




   As a result of such event and house party, the MBPD issued additional official code violations in

   assigned cases NC2024-28938 and NC2024-28950 to Defendants.

            On November 10, 2024, Liburdi again hosted a large-scale, organized event and/or house

   party at 101 Hibiscus with commercial grade sound systems, lighting, service staff, private

   security, firework displays, traffic congestion, and event promotion in violation of City of Miami

   Beach ordinances and local codes. In addition, such events and/or parties resulted in raucous

   shouting and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs

   contacted the MBPD and placed an excessive noise complaint at 4:06 a.m.

            On November 12, 2024, legal counsel for Plaintiffs’ served Defendants with a Statutory

   Notice to Abate pursuant to Section 60.05, Fla. Stat., demanding the immediate abatement of the

   commercialized events and adherence to the Code of the City of Miami. In direct rejection of such

   demand, on November 16, 2024, Defendants hosted a large-scale, organized event and/or party at

   101 Hibiscus with commercial grade sound systems, lighting, service staff, private security,

   firework displays, traffic congestion, and event promotion in violation of City of Miami Beach

   ordinances and local codes. In addition, such events and/or parties resulted in raucous shouting

   and the sounding of air horns outdoors from party attendees. As a result, Plaintiffs contacted the

   MBPD and placed an excessive noise complaint at 2:42 a.m. At the time of speak with an officer,

   the officer informed Plaintiffs that approximately 87 motor vehicles had entered the island for such

   party.

            Due to the limited amount of parking, persons attending the event parked illegally on

   adjoining public streets and neighboring private properties, including Plaintiffs’ blocking their

   right of way. Separate from the excessive noise, the inadequate parking situation caused additional

   disturbances in the neighborhood and creates an unreasonable risk of death or serious injury in the



                                                   10
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 51 of 59




   event an emergency vehicle is called for assistance and is unable to enter and exit. Such parking

   threat has occurred on other event dates as well. On October 26 and November 16, 2024, Plaintiffs

   captured the following pictures reflecting the congestion and blockage of the only streets on the

   island:




   For each event and/or party set forth above, Defendants hire off duty law enforcement officers to

   superficially act as security but in reality, upon information and belief, such individuals are

   instructed to deter on duty law enforcement officers, that respond as a result of noise complaints,


                                                   11
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 52 of 59




   from interfering or otherwise ceasing the event and house party. As a result of such deterrence by

   off duty law enforcement officers, despite Plaintiffs’ calls to law enforcement for help, the

   excessive loud music and traffic congestion continue and are maintained each evening until 6 a.m.

          In summary, law enforcement has been contacted on thirteen separate occasions by

   Plaintiffs and others merely since April 2024 due to continuous instances of excessive loud noise,

   crowds, and blocking of public streets in violation of the city’s ordinances. Liburdi’s properties

   are frequently the site of large parties and events wherein alcohol is consumed and noise, including

   but not limited to, amplified music, emanating at volumes that are unreasonably loud, excessive,

   and unnecessary including in the late-night and early-morning hours, disrupts the peace and quiet

   sought by neighboring residents, including Plaintiffs. To date, there have been multiple large-

   scale disturbances, including several disturbances within the span of a single party, demonstrating

   that the issuance of violations by MBPD fail to adequately deter the bad conduct with Defendants

   openly planning future events with no intent of stopping despite threats and demands to do so.

                                      MEMORANDUM OF LAW

          I.      Legal Standard for Injunctive Relief

          "The trial court is afforded broad discretion when granting, modifying or denying an

   injunction." Allied Universal Corp. v. Given, 223 So. 3d 1040, 1042 (Fla. 3d DCA 2017). "[T]he

   purpose of a temporary injunction is not to resolve disputed issues, but rather to preserve the status

   quo pending final hearing on the merits[.]" City of Miami Beach vKuoni Destination Mgmt., Inc.,

   81 So. 3d 530, 532 (Fla. 3d DCA 2012). This court has wide latitude to grant a temporary

   injunction, and such relief must be affirmed on appeal absent a clear abuse of discretion. State Inv.

   Holding, Inc. v. Merrick P'ship, LLC, 103 So. 3d 232, 234 (Fla. 3d DCA 2012) (citing Cohen Fin.,

   LP v. KMC/EC II, LLC, 967 So. 2d 224, 226 (Fla. 3d DCA 2007)).



                                                    12
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 53 of 59




          Under Florida law, a trial court should grant a temporary injunction "where there is a

   showing of (1) the likelihood of irreparable harm and the unavailability of an adequate remedy at

   law, (2) a substantial likelihood of success on the merits, (3) that the threatened injury to [the

   movant] outweigh any possible harm to the [non-movants], and (4) that the granting of the

   preliminary injunction will not disserve the public interest." City of Miami v. City of Miami

   Firefighters' & Police Officers' Ref. Tr. & Plan, 249 So. 3d 709, 714 (Fla. 3d DCA 2018) (quoting

   Miami-Dade Cty. v. Fernandez, 905 So.2d 213, 215 (Fla. 3d DCA 2005)).

          As set forth below, the four elements that this Court must weigh overwhelmingly favor

   Plaintiffs’ request for temporary injunctive relief.

          II.     Defendants Irreparably Harm Plaintiffs and the Quality of their Property

          With each willful violation of the City’s code, Defendants irreparably harm the quality of

   Plaintiffs’ residential property and neighborhood. Plaintiffs reside in a single-family residential

   neighborhood and expect and are entitled under the City code to receive peace and quiet free from

   unreasonably loud and excessive noise, free from commercial activities in the area, and free from

   out of control party goers. Defendants have infringed and continued to infringe on those freedoms.

          No remedy at law exists to adequately compensate for the irreparable harm caused by

   Defendants' actions, which are entirely inconsistent with the residential character of the

   neighborhood. Even visits by law enforcement and the imposition of official code enforcement

   citations have not stopped Defendants' unlawful conduct. Absent an injunction, the irreparable

   harm is highly likely to continue.

          III.    Plaintiffs are Substantially Likely to Succeed on the Merits

          Further, Plaintiffs are substantially likely to succeed on the merits of its nuisance abatement

   action. Pursuant to Section 825.05(1)(a) and (d), Fla. Stat., a “nuisance” includes a “building…that



                                                     13
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 54 of 59




   tends to annoy the community or injure the health of the community” and “a place where any law

   of the state is violated.” Under the Code for the City of Miam Beach, unreasonably loud,

   excessive, unnecessary, and/or unusual noises are expressly prohibited, including but not limited

   to, loud music, revving of motor vehicle engines, fireworks, airhorns, and raucous shouting that

   disturbs the peace of neighboring residential inhabitants. City of Miami Beach Ord. No. 46-

   152(a)-(b), (e), (l). The Code for the City of Miami Beach also expressly prohibits the commercial

   use of any residential property. City of Miami Beach Ord. No. 142-109.

          Under Florida law, a nuisance may be found where a residential property is being used for

   rowdy parties, e.g., Bd. of Cty. Comm'rs of Brevard Cty., Fla. v. Moorer, No. 05-2005-CA-020223,

   2005 WL 8181763 (Fla. 18th Cir. Ct. Sept. 28, 2005), or for prohibited commercial activity, e.g.,

   Clark v. Bluewater Key RV Ownership Park Prop. Owners Ass'n, Inc., 226 So. 3d 276, 282-83

   (Fla. 3d DCA 2017). In addition, the City code provides that any violation of its noise ordinances

   "shall constitute a nuisance." City of Miami Beach Ord. No. 46-160. It should also be noted that

   the persons responsible for compliance with the noise ordinances includes "any persons owning or

   having responsibility for management of a premises, however temporarily"; "any person playing

   music"; and "any person having control of volume knobs or levels or amplification devices." City

   of Miami Beach Ord. No. 46-153. This means that a landlord, agent, and tenant are all responsible

   for compliance with the noise ordinances and may be enjoined from committing future noise

   violations.

          The subject property, as operated and maintained by the Defendants, constitutes a nuisance

   that tends to annoy Plaintiffs and the community and injures the health of Plaintiffs in general, and

   is a place where the law is routinely violated. The subject property is frequently the site of large

   parties (both commercial and private) wherein alcohol is consumed and noise, including but not



                                                    14
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 55 of 59




   limited to amplified music, emanates at volumes that are unreasonably loud, excessive, and

   unnecessary, including in the late-night and early-morning hours, disrupting the peace and quiet

   sought by Plaintiffs. Both the Florida Statutes and the City code authorize an injunction against

   such disruptions.

          Moreover, due to the limited amount of parking, persons attending these events frequently

   park on adjoining public streets, right-of-way areas and neighboring private properties. This

   inadequate parking situation causes additional disturbances to Plaintiffs and other single-family

   residents in the neighborhood. There have been multiple large-scale disturbances at the subject

   property, including several disturbances within the span of a single party, demonstrating that the

   issuance of violations by code enforcement or even the MBPD fails to adequately deter the bad

   conduct. The ongoing pattern of unlawful conduct, as well as the traffic, crowds, and noise at all

   hours of the night generated by the subject property, presents a real and immediate threat of

   annoying Plaintiffs and the community, injuring the health of Plaintiffs and the community, and/or

   violating the law, and constitutes a nuisance.

          IV.     The Equities Weigh in Favor of Injunctive Relief

          There can be no real dispute as the equities undoubtedly weigh in favor of enjoining the

   complained of conduct. The public interest is served by enforcing the City's lawful Code

   provisions. Plaintiffs would finally receive the quality of life to which they are entitled. In

   addition, MBPD and City resources would not be continually expended combatting Defendants'

   City code violations which would free up the public resources to be better spent on other

   endeavors. In contrast, Defendants have no right to violate the City code. There is no claim of

   entitlement to use, or advertise for use of, the subject property for commercial purposes. Nor do

   either Defendants have any right to host noisy parties that disrupt the tranquility of the



                                                    15
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 56 of 59




   neighborhood, create traffic and parking concerns, and otherwise lead to unruly conduct. Thus,

   enjoining the nuisance would not cause Defendants any injury, whereas denying the injunction

   would greatly disserve the public interest.

                                            CONCLUSION

          Plaintiffs having no adequate remedy at law, and their quality of life and property rights

   being threatened, require equitable relief and prays that this Honorable Court grant a temporary

   and permanent injunction enjoining: (i) the maintenance of the nuisance complained of on 101

   Hibiscus; (ii) the conduct, operation or maintenance of any commercial business or activity on 101

   Hibiscus; (iii) the use of 101 Hibiscus as an impermissible party or event house; and (iv) the

   making or maintenance of any unreasonably loud, excessive, unnecessary or unusual noises on

   101 Hibiscus. Further, Plaintiffs request that a certified copy of said injunction be recorded in the

   public records of Miami-Dade County, which shall constitute notice to and be binding upon any

   subsequent purchasers, successors in interests, or assigns.




                                                    16
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 57 of 59




                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 22, 2024, a copy of the foregoing was electronically

   filed with the Clerk of Courts using the Florida Courts E-Filing Portal and served on all parties of

   record, including Defendants at the address for 101 Hibiscus.

                                                        Respectfully Submitted,

                                                        /s/ Matthew M. Fischer
                                                        Matthew M. Fischer, Esq.
                                                        Florida Bar No. 40997
                                                        MATTHEW M. FISCHER, P.A.
                                                        110 E. Broward Blvd, Ste 1700
                                                        Fort Lauderdale, FL 33301
                                                        Tel: (954) 859.5558
                                                        Fax: (954) 859.5525
                                                        matt@fischerlawpa.com

                                                        Counsel for Plaintiff




                                                   17
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 58 of 59




   December 18, 2023

   Mr. Sinan Tuna
   165 N Hibiscus Drive
   Miami Beach, FL 33139




   Dear Mr. Tuna,

   We are writing this letter in reference to an event which took place at 165 North
   Hibiscus Drive on Thursday December 7, 2023.

   Over the last week, we received an unusually high number of complaints from residents
   of Hibiscus and Palm Island and as far as the Venetian Islands, Sunset Islands, and Star
   Island regarding noise and traffic due to the event. Testimonials include fireworks
   debris falling on people's lawn, young children woken and terrified from the explosive
   noise, and elderly residents shaking in their beds and inability to sleep. In the words of
   one Hibiscus resident of nearly 40 years, it was the worst noise level he/she ever
   experienced. Another had a difficult time accessing their own home due to the traffic
   pattern.

   As the Security Committee, we have been following up with the city regarding this
   unfortunate event. Miami Beach Police Department (MBPD) is aware of the incident
   and is conducting their review that will be shared with the Committee. After receiving
   multiple complaints, the mayor's office is also reviewing the incident and the city's
   subsequent response.

   Besides the extremely elevated noise levels past 11pm, we also understand that
   generators were brought onto the property for additional power. The excessive number
   of guests on property, which we were told was in the many hundreds, may have been a
   fire hazard as well.




                            152 Palm Avenue Miami Beach, FL 33139
                                                                                            Ex. E
Case 1:24-cv-24690-KMM Document 4-6 Entered on FLSD Docket 12/02/2024 Page 59 of 59




   Our primary responsibility is towards the safety and security of all residents of the
   Association, including your own, and to ensure a quality of life that is expected of a
   residential neighborhood. The events of Thursday December 7 concerned us to the point
   that we felt it was necessary to write this letter.

   We are requesting an in-person meeting with you to understand what occurred last
   week and to ensure this will not happen again. We ultimately want to work with our
   residents to enjoy their property in a safe and peaceful manner. Amy De Saint Seine will
   reach out to set up a convenient time and place to meet.

   Sincerely,




   Allison Feldman & Chris Torto
   Board and Security Committee Members
   PHS Islands Association




                           152 Palm Avenue Miami Beach, FL 33139
